              Case 2:16-cv-01069-RSM Document 102 Filed 10/24/17 Page 1 of 3



                                                               The Hon. Chief Judge Ricardo S. Martinez
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                                    UNITED STATES DISTRICT COURT
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                           FOR THE WESTERN DISTRICT OF WASHINGTON
 9                                              AT SEATTLE
10
                                                             No. C16-1069 RSM
11
                                                             ORDER GRANTING PLAINTIFFS’
12
      In re JUNO THERAPEUTICS, INC.                          MOTION FOR CLASS
13                                                           CERTIFICATION
14

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16           This matter is before the Court on plaintiffs’ motion for class certification, filed
17   September 15, 2017. The Court has studied all moving papers, opposition papers, reply papers,
18   and all other relevant filings.
19           For good cause shown, and based on the declarations, exhibits, and other evidence on
20   file, the Court finds and concludes that plaintiffs’ motion is well taken and defendants do not
21   oppose the requested relief.
22           Therefore, for the reasons identified in plaintiffs’ motion papers and reply papers, and
23   based on the evidence filed therewith, the Court ORDERS as follows:
24           1.      Plaintiffs’ motion for class certification is GRANTED under Rule 23(a) and
25   (b)(3) of the Federal Rules of Civil Procedure;
26           2.      The class is defined as all those persons or entities that purchased or otherwise
27

                                                                                   L AW O FFICES OF
     ORDER GRANTING CLASS CERT.
     No. C16-1069 RSM
                                                       -1-                 C LIFFORD A. C ANTOR , P.C.
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              Case 2:16-cv-01069-RSM Document 102 Filed 10/24/17 Page 2 of 3




 1   acquired the publicly traded common stock of Juno Therapeutics Inc. (“Juno”) from June 4, 2016

 2   to November 22, 2016, both dates inclusive,1 as proposed in plaintiffs’ motion papers;

 3          3.       The class representatives are Gilbert Hoang Nguyen and Susan Tan, as proposed

 4   in plaintiffs’ motion papers;

 5          4.       Class counsel is Pomerantz LLP, as proposed in plaintiffs’ motion papers;

 6          5.       Within 60 days from the ECF filing date of this order, the parties are to (a) meet

 7   and confer on the form and manner of providing notice, and (b) file their proposal for providing

 8   notice (or different proposals, if they cannot agree) for Court approval.

 9          SO ORDERED.

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            Dated this 24 day of October, 2017.
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                                                   A
                                                   RICARDO S. MARTINEZ
                                                   CHIEF UNITED STATES DISTRICT JUDGE
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     Presented by:
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     s/ Cliff Cantor
19   By: Cliff Cantor, WSBA # 17893
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23
     Plaintiffs’ Liaison Counsel
24

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             Excluded from the Class are any parties who are or have been Defendants in this litigation,
26   the present and former officers and directors of Juno and any subsidiary thereof, members of their
     immediate families and their legal representatives, heirs, successors or assigns and any entity in
27   which any current or former Defendant has or had a controlling interest.
                                                                                 L AW O FFICES OF
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